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        Mark Lanterman
        Chief Technology Officer

                               Professional Biography
Office
                               Mark has over 30 years of experience in digital forensics, e-discovery, and has
800 Hennepin Avenue
                               provided education and training to a variety of audiences. Prior to founding
5th Floor
                               Computer Forensic Services in 1998, Mark was a sworn investigator with the
Minneapolis, MN 55403
                               United States Secret Service Electronic Crimes Task Force. Both federal and state
                               court judges have appointed Mark as a neutral computer forensic analyst.
Phone
(952) 924-9220                 Mark was appointed by the Minnesota Supreme Court for two consecutive three-
                               year terms as a member of the Minnesota Lawyers Professional Responsibility
Fax                            Board, during which he also actively contributed to its Rules & Opinion
(952)924-9921                  Committee.

Email                          Mark frequently provides training within the legal community, including
mlanterman@compforensics.com   presentations for the United States Supreme Court, Georgetown Law School, the
                               11th Circuit Federal Judicial Conference, the 8th Circuit Federal Judicial
Web                            Conference, the American Bar Association, the Federal Bar Association, the
www.compforensics.com
                               Sedona Conference, and the Department of Homeland Security, among others.

                               Mark has provided training for federal judiciary members via the Federal
                               Judicial Center in Washington, D.C. Additionally, he serves as faculty at the
                               National Judicial College. Mark is a professor in cybersecurity at the Saint
                               Thomas School of Law. Mark is a member of the Sedona Conference Working
                               Groups 1 and 11, where he is recognized as a “dialogue leader” on the judicial
                               branch’s adoption of Artificial Intelligence. Further, Mark was appointed by the
                               Arizona Supreme Court to its judicial steering committee for the implementation
                               of Artificial Intelligence.

                               Education and Certifications
                               Upsala College – B.S. Computer Science; M.S. Computer Science

                               Harvard University – Cybersecurity

                               Department of Homeland Security – Federal Law Enforcement Training Center
                               Seized Computer Evidence Recovery Specialist

                               National White-Collar Crime Center – Advanced Computer Forensics

                               Publications
                               Co-author of the E-Discovery and Forensic Desk Book

                               Regular columnist for Bench & Bar magazine
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   •     Ranning v. SBS Transportation, Inc. et al., 62-CV-23-400, (Ramsey Co.,
         Minn)
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   •     Raymond James & Associates, Inc. et al. v. Piper Sandler et al., 2:23-CV-
         02644 (W.D. Tenn.)
   •     Griffin v. Johnson & Johnson et al., 21-CV-00134, (D. Vermont)
   •     Piper Sandler Companies v. Gonzalez, 23-CV-2281 (D. Minn.)
   •     State v. James Nyonteh, 27-CR-22-5940 (Henn. Co., Minn)
   •     State v. Zhaaboshkang Bush, 04-CR-22-2661 (Beltrami Co., Minn)
   •     Lauren Ellison v. JM Trucking, et al., 2023CI16452 (Bexar Co., Texas)
   •     State v. Gary Otero, 52-CR-23-57 (Nicollet Co., Minn.)
   •     Mayo Foundation for Medical Education & Research v. Knowledge to
         Practice, Inc., 21-CV-1039 (D. Minn.)
   •     Wilbur-Ellis Company LLC v. J.R. Simplot et al. (D. South Dakota)
   •     Universal Power Marketing, et al. v. Sara Rose, 82-CV.20-2812 (Henn.
         Co., Minn.)
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   •     Hagen v. Your Home Improvement, LLC, et al., 73-cv-21-2067, (Sterns Co.
         Minn.)
   •     State of Minnesota v. Raku Sushi & Lounge Inc., 27-CR-21-8730, (Henn.
         Co., Minn.)
   •     Jane Doe, et al. v. Independent School District 31, 20-CV-00226, (D.
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          Carolina)
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          16685, (Henn. Co. Minn.)
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    •     Stephanie Ramos v. Lazy J Transport, et al., 2018CI21594, (Dist Ct. Bexar
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          Dist. Ct. Minn.)
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    •     Chambers, et al. v. B&T Express, et al., 19-CI-00790, (Franklin Cir. Ct. Ky.
          2d Div.)
    •     Natco Pharma Ltd. V. John Doe, 21-cv-00396-ECT-BRT, (U.S. Dist. Ct.
          Minn.)
    •     Kimberly Clark, et al. v. Extrusion Group, et al., 1:18-cv-04754-SDG, (U.S.
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    •     Patel Engineering Ltd. V. The Republic of Mozambique, UNCITRAL PCA:
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    •     Estate of Rima Abbas v. ABDCO, (19-CI-1315), (Fayerette Cir. Ct. Ky. 4th
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          549, (U.S. W.D. Kentucky)
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    •     Lewis v. Northfield Savings Bank, et al., 295-5-19-WNCV, (Vermont, Sup.
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    •     State of Minnesota v. Thomas James Crowson, 13-CR-20-325, (Chisago
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    •     Vimala et al., v. Wells Fargo, et al., 3:19-CV-0513, (U.S. M.D. Tenn.)
    •     In re: Estate of Anthony Mesiti, 318-2017-ET-00340, N.H. 6th Cir.
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    •     Ernie’s Empire, LLC, et al. v. Burrito & Burger, Inc., et al., 82-CV-20-28,
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          10822, (Henn. Co., Minn.)
    •     State of Minnesota v. Yildirim, 27-CR-19-7125, (Henn. Co., Minn.)
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          Minn.)
    •     Daniel Hall, et al. v. Harry Sargeant III, 18-cv-80748, (S.D. Fl.)
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    •     Strohn, et al. v. Northern States Power Company, et al., 18-cv-1826, (U.S.
          Dist. Ct. Minn.)
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          1134 & 12-CI-00468, (Commonwealth of Kentucky, Floyd Cir. Co., Div. I).
    •     Patterson Dental Supply, Inc. v. Daniele Pace, Case No.: 19-cv-01940-JNE-
          LIB, (U.S. Dist. Ct. Minn.)
    •     Ryan Rock v. Jonathan Sargent and The Sargent Group, Inc. d/b/a Todd &
          Sargent, Inc., LACV050708, (Story Co., Iowa)
    •     Oscar Alpizar v. Eazy Trans, LLC, et al., 2018CI00878, (Bexar Co., Texas)
    •     MatrixCare v. Netsmart, Case No.: 19-cv-1684, (D. Minn.)




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    •     Lloyd C. Peeoples, III v. Carolina Container, LLC, 4:19-cv-00021 (N.D.
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    •     Sandra Wolford, et al. v. Bayer Corp., et al., 16-CI-907, 17-CI-2299, Pike
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    •     BuildingReports.com, Inc. v. Honeywell International, Inc., Case No.: 1:17-
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    •     Evan D. Robert and Dr. Kerry B. Ace v. Lake Street Cafeteria, LLC, et al.,
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Bench & Bar of Minnesota

Ransomware and federal sanctions, January/February 2024

Biden issues ambitious executive order on AI, December 2023

The CSRB weighs the lessons of Lapsus$, November 2023

Deepfakes, AI, and digital evidence, October 2023

Protecting our judges, September 2023

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Executive Order 22-20 and Minnesota’s growing cybercrime rates, November
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Social engineering or computer fraud? In cyber insurance, the difference matters,
October 2022




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The Cyber Safety Review Board’s first report and the impact of Log4j, September
2022

What critical infrastructure efforts can teach us about cyber resilience, August
2022

How the American Choice and Innovation Online Act may affect cybersecurity,
July 2022

Smishing attacks and the human element, May/June 2022

Still on the defensive, More on the Missouri website vulnerability investigation,
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What we can already learn from the Cyber Safety Review Board, March 2022

The Log4j vulnerability is rocking the cybersecurity world. Here’s why.,
January/February 2022

On the defensive: Responding to security suggestions, December 2021

Go fish? Proportionality revisited, November 2021

Mailbag: Cybersecurity Q+A, October 2021

The NSA advisory on brute force attacks, September 2021

Security is a team game, August 2021

Improving national cybersecurity, July 2021

Apple’s new iOS strikes a blow for data privacy, May/June 2021

Geofence warrants, The battle is just beginning, April 2021

Ransomware and federal sanctions, March 2021

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Considerations in cloud security, January 2021



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Deciding when to use technology-assisted review, December 2020

How to avoid an old scam with a new twist, November 2020

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“Papers and effects” in a digital age, pt II, May/June 2019

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Third-party vendors and risk management, March 2019

The Marriott breach: four years?, February 2019

“Papers and effects” in a digital age, co-authored with Judge (Ret.) Rosenbaum,
January 2019 (Republished in The Computer & Internet Lawyer)

The Chinese spy chip scandal and supply chain security, December 2018
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Don’t forget the inside threat, November 2018

Cyberattacks and the costs of reputational harm, October 2018

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Managing Cyber Risk: Is cyber liability insurance important for law firms?,
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Digital evidence: New authentication standards coming, August 2017

Your Personal Data – Or is it? Doxxing and online information resellers pose
threats to the legal community, May/June 2017

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COVID-19 and the importance of the cyber captive, April 2020

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Cybervigilance in Establishing Security Cultures




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